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15
16                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ARIZONA
17
18    Charles Taylor, and Richard LaBryer,     §      No. 2:16-cv-02760-DGC
      Individually and on behalf of all        §
19    others similarly situated                §    PLAINTIFFS’ RESPONSE TO
20                                             §    DEFENDANT’S EXPEDITED MOTION
            Plaintiffs,                        §    FOR EXTENSION OF TIME TO
21                                             §    RESPOND TO PLAINTIFF’S MOTION
      v.                                       §    FOR CONDITIONAL CERTIFICATION
22
                                               §
23    Republic Services, Inc.,                 §
                                               §
24
            Defendant                          §
25
            Plaintiffs Charles Taylor and Richard LaBryer, individually and on behalf of all opt-
26
27    in plaintiffs and others similarly situated (hereinafter “Plaintiffs and the Putative Class

28    Members”) file this Response to Defendant Republic Services, Inc.’s (“Republic”)
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 1    Expedited Motion for Extension of Time to Respond to Plaintiff’s Motion for Conditional
 2    Certification (“Motion for Extension”), and would respectfully show the following:
 3
                1.   Republic has protested for more than a month now that the current matter
 4
 5    before this Honorable Court “is Serrano redux, before Serrano has been concluded (i.e., the

 6    primary legal claims are the same, the defenses are the same, the lead lawyers are the same,
 7
      and the parties are virtually the same).” See ECF 31, p. 2 (citing ECF No. 28) (emphasis
 8
      added).
 9
10           2.      Yet, Republic’s admissions in its Motion for Extension belie its arguments
11    that Taylor should be dismissed, transferred or stayed pending the resolution of Serrano.
12
      Specifically, Republic admits that “tens of thousands of individuals who were employed at
13
14    hundreds of facilities across the United States” are subject to Republic’s incentive pay
15    plans and automatic meal deductions. Id. at 3.
16
             3.      That admission by itself should alert this Court to Republic’s hypocrisy and
17
18    inconsistent arguments (read: gamesmanship) made in support of its motion to dismiss,

19    transfer or stay the Taylor case. As discussed at length in briefing already before this
20
      Honorable Court, the Serrano matter deals only with current and former waste disposal
21
      drivers who worked at Republic’s facilities in Texas. Plaintiffs’ counsel in Serrano never
22
23    sought nationwide conditional certification thereby making it impossible to have the same
24    parties at issue in the Taylor case.1
25
26
27
             1
              It should also go without saying that any current or former waste disposal driver
28    who opted in to the Serrano matter and has not been dismissed without prejudice is barred
      from participating in the Taylor matter as a matter of law.

                                                   2
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 1           4.     And while the Taylor Plaintiffs do seek nationwide certification, it should be
 2    noted that Plaintiffs specifically wish to carve out the plaintiffs in Turner v. BFI Waste
 3
      Services, LLC et al, No. 2:16-cv-02864-DCN (D.S.C. Aug. 17, 2016) and any putative class
 4
 5    members who worked in North and/or South Carolina in the last three years, which are the

 6    subject of the Turner plaintiffs’ motion for conditional certification. See Turner, ECF No.
 7
      15.
 8
             5.     Interestingly, Republic requested a two-week extension to respond to the
 9
10    plaintiffs’ motion for conditional certification in the Turner case under the guise of “[d]ue
11    to Hurricane Matthew and its effects, several of Republic’s facilities in North and/or South
12
      Carolina were closed and many of Republic’s employees in North Carolina and/or South
13
14    Carolina were subject to mandatory evacuation orders and had to relocate their families.”
15    See Turner, ECF No. 16, p. 2. Just as Republic has requested in Taylor, Republic claimed
16
      it “required additional time to collect the relevant documents and information in order to
17
18    prepare its response.” Id.; see also Taylor, ECF No. 31, p. 3.

19           6.     Yet, miraculously, Republic was able to find enough documents and
20
      information to file a motion for summary judgment against the plaintiffs in the Turner case
21
      within the timeframe of the requested (and consented to) extension. See Turner, ECF No.
22
23    22 filed on October 19, 2016—SIX days after requesting a two-week extension to respond
24    to the plaintiffs’ motion for conditional certification.
25
             7.     This Honorable Court should not be fooled by Republic’s gamesmanship
26
27    here. There is absolutely no need for an extension, especially one for an additional three-

28    weeks, for Republic to respond to Plaintiffs’ Motion for Conditional Certification in the


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 1    Taylor matter. Republic has all of the information and documents it needs to properly
 2    respond within the time frame provided by the Rules.
 3
            RESPECTUFLLY SUBMITTED this the 21st day of October 2016.
 4
 5                                     Anderson2X, PLLC

 6                              By:    s/ Austin W. Anderson
 7                                     Austin W. Anderson

 8                                     Mushkatel, Robbins & Becker, PLLC
 9
                                By:    s/ Zachary Mushkatel
10                                     Zachary Mushkatel
11                                     Attorneys for Plaintiffs and Putative Class Members
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 1                                  CERTIFICATE OF SERVICE
 2           I hereby certify that on the 21st day of October 2016, I electronically filed the
 3
      foregoing document with the Clerk’s Office using the CM/ECF system, which will send a
 4
 5    notification of such filing to the following:

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